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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

HARRIS COUNTY, TEXAS, et al.,

                           Plaintiffs,

v.                                          Case No. 1:25-cv-01275-CRC

ROBERT F. KENNEDY, JR., in his
official capacity as Secretary of Health
and Human Services, et al.,

                           Defendants.

     PLAINTIFF AFSCME’S MEMORANDUM OF LAW IN SUPPORT OF ITS
               MOTION FOR PARTIAL RECONSIDERATION
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                                   INTRODUCTION

       Plaintiff American Federation of State, County, and Municipal Employees

(“AFSCME”) respectfully seeks narrow and limited reconsideration of that portion of the

Court’s June 17, 2025, Order, ECF No. 32, and Memorandum Opinion, ECF No. 33

(“Mem. Op.”), that declined to award Plaintiff AFSCME injunctive relief on behalf of its

members who are public employees in two jurisdictions: the State of Alaska (“Alaska”)

and Jackson County, Ohio (“Jackson County”). AFSCME members in those jurisdictions

were terminated from their employment in public health departments as a result of actions

which the Court’s Memorandum Opinion found were likely unlawful and caused these

AFSCME members irreparable harm. Reconsideration is appropriate under Federal Rule

of Civil Procedure 59(e) on the ground that there is a need to correct a clear error and to

prevent manifest injustice with respect to the denial of relief to AFSCME on behalf of these

members specifically.

       This aspect of the Court’s Memorandum Opinion was based on a clear error insofar

as it concluded that AFSCME’s members in Alaska and in Jackson County were not

entitled to injunctive relief because the elected officials of those jurisdictions had not

participated in the litigation and thus, in the Court’s view, granting AFSCME injunctive

relief as to unlawful funding cuts in those jurisdictions “could lead the federal government

to pay money to entities that have not asked for it.” Mem. Op. at 42. That premise is

incorrect; as the Memorandum Opinion explains elsewhere, id. at 40, the government pays

grantees the funds at issue only when those grantees submit reimbursement claims for

them. There is thus no risk that an award of injunctive relief on behalf of these AFSCME

members would force these jurisdictions to accept funds that they do not want to receive.



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        The Memorandum Opinion’s reliance on this incorrect premise also will result in

manifest injustice, especially since, as this Court correctly concluded, AFSCME is likely

to succeed on the merits of its separation of powers and ultra vires claims, and its members

have suffered irreparable harm from Defendants’ unlawful termination of COVID-19-

related CDC grant programs. Mem. Op. at 7–8, 20, 37–38. Any harm caused by the lack

of participation by elected officials in Alaska and Jackson County in this litigation—which

will not have the effect of forcing them to receive money they do not want—is markedly

outweighed by the inequities that will result if AFSCME’s members in those two

jurisdictions, who have lost their jobs and are without income and other legal recourse, are

not afforded relief.

                                    BACKGROUND

        A.      Procedural Background

        Plaintiffs are four local governments and AFSCME, whose members include

current and former employees of local and state governments that had grants terminated as

a result of Defendants’ unlawful Mass Termination Decision (“AFSCME members”).1 In

April 2025, Plaintiffs filed a complaint and a motion for a preliminary injunction seeking

relief from Defendants’ Mass Termination Decision. As Plaintiffs articulated in their

motion for a preliminary injunction, the Mass Termination Decision caused them

irreparable harm, abruptly cutting the Plaintiff Local Governments and employers of

AFSCME members off from federal funding used to provide critical aspects of their public

health programs that were designed to detect and mitigate infectious disease in their


1
 If not defined herein, the capitalized terms used in this motion are defined in Plaintiffs’
memorandum of law in support of their motion for a preliminary injunction, ECF No. 14-
1 (“Pls.’ PI Mem. of Law”).


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communities, at a time when diseases like measles were on the rise.2 Pls.’ PI Mem. of Law

at 17.

         Defendants’ Mass Termination Decision caused the termination of many state and

local public health employees around the country, including hundreds of AFSCME

members, and will lead to yet more employee terminations by public health employers not

covered by an injunction. Pls.’ PI Mem. of Law at 15–16 (citing O’Brien Decl. ¶ 7; Spiegel

Decl. ¶ 11; Johnson Decl. ¶ 17 (“Due to the CDC’s premature cancellation of our Enhanced

Operation grant, Columbus Public Health has had to terminate eleven full time staff

members . . . charged with infectious disease tracing, investigations, and community

response coordination.”); Maddox Decl. ¶¶ 9–10, 15 (Harris County) (“[u]nless the grants

are restored, this will result in the termination of grant-funded positions”; “HCPH will have

to reduce staffing levels”; “the terminated grants support the employment of . . . 66 full-

time employee positions and 37 temporary employee positions”)).

         Terminated employees, including in Alaska and Jackson County, were left without

income and health insurance. Pls.’ PI Mem. of Law at 15–16, 34–35 (citing O’Brien Decl.

¶ 7; Hewitt Decl. ¶¶ 7–9 (Alaska employee layoffs resulted in loss of health insurance);

Peters-Wiseman Decl. ¶ 8 (Jackson County layoffs resulted in loss of health insurance)).

Many of these terminated AFSCME members are highly trained individuals that have

devoted their careers to public health work, and are now without any income or benefits to

show for their dedication, and without an opportunity to pursue the same or similarly

meaningful work elsewhere. Pls.’ PI Mem. of Law at 16 (citing Spiegel Decl. ¶ 6; Hewitt




2
 See Teddy Rosenbluth & Jonathan Corum, Measles Cases Hit Highest Total Since U.S.
Eliminated the Disease, N.Y. Times (July 9, 2025), https://perma.cc/S36C-QH7B.


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Decl. ¶ 9; Henry Decl. ¶ 13). And other AFSCME members, such as those employed by

Alaska, will be transferred to jobs that they did not apply for, are overqualified for, or are

located in areas further from the employees’ homes, causing both monetary and

psychological harm. Pls.’ PI Mem. of Law at 16 (citing Heddings Decl. ¶¶ 12–14).

AFSCME members who retain their current positions are also harmed, both as employees

of public health departments and residents of the jurisdictions those departments serve, by

the loss of the important work of their colleagues on critical public health initiatives. Pls.’

PI Mem. of Law at 35, 38 (citing Heddings Decl. ¶¶ 8, 17 (Alaska); Peters-Wiseman Decl.

¶ 9 (Jackson County)).

       B.       The Court’s Memorandum Opinion and Order

       This Court entered a preliminary injunction on June 17, 2025, ruling that all

Plaintiffs including AFSCME had standing; that the Court had jurisdiction over all

Plaintiffs’ constitutional claims; that all Plaintiffs had demonstrated that they were likely

to succeed on the merits as to their separation of powers and ultra vires claims for grants

that were issued pursuant to certain congressional appropriations; and that all Plaintiffs

would suffer irreparable harm absent an injunction. Mem. Op. at 7, 9–13, 16–21, 35–38.

As to AFSCME, the Court held that it faced irreparable harm because, as its declarations

confirmed, many of its members have already lost their jobs, and hundreds more were at

risk of losing their jobs. Id. at 37. AFSCME members, the Court correctly determined,

could not recoup lost wages and benefits because they were employed by local

governments and thus could not sue the federal government for those money damages. Id.




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at 38. The Court thus held that AFSCME had standing, was likely to succeed on two of its

constitutional claims, and its members suffered irreparable harm.3

        In analyzing the last preliminary injunction prong concerning the balance of

equities and public interest, however, the Court held that the equities weighed in favor of

not extending the scope of the injunction to cover public employers other than the Plaintiff

Local Governments. The Court first ruled that any financial burden on the federal

government resulting from an injunction restoring grants for the Plaintiff Local

Governments was outweighed by “the significant public interest in promoting public

health.” Id. at 39–40. Then, after denying nationwide relief, id. at 40–41, the Memorandum

Opinion determined that the Court’s injunction would also not cover Alaska and Jackson

County, specifically. The Memorandum Opinion denied relief covering Alaska and

Jackson County on the ground that the elected officials of those jurisdictions had not sued

to recover the terminated funds and injunctive relief “could lead the federal government to

pay money to entities that have not asked for it.” Id. at 42.

        In weighing the equities as to AFSCME’s members in Alaska and Jackson County,

the Court did not address the fact that the significant interest in promoting public health

that warranted injunctive relief for the Plaintiff Local Governments applied equally to the

public health work performed by the AFSCME members terminated in Alaska and Jackson

County, many of whom had already been terminated from their jobs and could not carry

out their critical public health functions in those jurisdictions. The Court also did not weigh



3
  Because the Court concluded that AFSCME had associational standing, it did not address
AFSCME’s organizational standing. Mem. Op. at 8 n.4. The Court concluded that
AFSCME had shown irreparable harm to its members due to their loss of employment and
risk of further job loss. Id. at 37. It did not reach the remainder of irreparable harms set
forth in Plaintiffs’ motion.


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the harm those individual members faced as a result of their terminations, harm the Court

found to be irreparable. Id. at 37–38.

                               STANDARD OF REVIEW

       A motion to reconsider brought within 28 days of judgment is governed by Fed. R.

Civ. P. 59(e). Strumsky v. Wash. Post Co., 922 F. Supp. 2d 96, 100 (D.D.C. 2013). Under

that Rule, the Court may amend or reconsider its order based on “an intervening change of

controlling law, the availability of new evidence, or the need to correct a clear error or

prevent manifest injustice.” D’Amore v. Small Bus. Admin., No. 21-cv-1505 (CRC), 2024

WL 3251224, at *2 (D.D.C. July 1, 2024) (quoting Firestone v. Firestone, 76 F.3d 1205,

1208 (D.C. Cir. 1996)).

                                         ARGUMENT

       For the reasons articulated below, the Memorandum Opinion was based on a clear

error insofar as it denied relief with respect to AFSCME members in Alaska and Jackson

County based on the Court’s view that an injunction would require the federal government

to pay money to jurisdictions that have not asked for it. That premise is factually incorrect,

and reconsideration is warranted to correct that clear error and prevent the resulting

manifest injustice to AFSCME’s members in those two jurisdictions, in particular those

who are now without pay and benefits—which, as the Court correctly determined, they

cannot otherwise recoup.

       AFSCME does not ask this Court to revisit its preliminary conclusion that

nationwide relief is not warranted, and requests only relief narrowly targeted to two

jurisdictions, Alaska and Jackson County, where AFSCME has already established (and

the Court has already found) irreparable harm to AFSCME members who have been



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terminated due to Defendants’ unlawful grant terminations. The record also demonstrates

that AFSCME members who continue to work as public health employees in these

jurisdictions are irreparably harmed in yet additional ways. See supra pp. 3–4.

        AFSCME agrees with the Court’s observation that, should the Court eventually

hold on summary judgment that the Mass Termination Decision violated the

Administrative Procedure Act, the appropriate remedy under 5 U.S.C. § 706 could include

vacatur of grant rescissions as to all grant recipients. Mem. Op. at 42. In the meantime,

however, AFSCME believes that in light of its strong showing on both the underlying

merits and the irreparable harm to its members, preliminary relief to preserve the status

quo in Alaska and Jackson County is warranted, and AFSCME therefore respectfully

requests that the Court reconsider its decision not to extend relief to those two jurisdictions.

        A.       This Court Should Reconsider its Memorandum Opinion Because of
                 Its Clear Error

        AFSCME’s request for reconsideration is narrow, seeking only relief with respect

to two jurisdictions that the Memorandum Opinion expressly excluded from the scope of

the preliminary injunction despite having found that AFSCME’s members there were

irreparably harmed by the Mass Termination Decision.4 As a result of a factual

misunderstanding regarding how the grant funds were paid to jurisdictions, the


4
  AFSCME notes that the fact AFSCME members in Washington State who received layoff
notices have benefited from an injunction brought by state attorneys general in separate
litigation, Mem. Op. at 41, does not obviate AFSCME’s irreparable harm for purposes of
obtaining an injunction covering them as well. See, e.g., Nat’l Council of Nonprofits v. Off.
of Mgmt. & Budget, No. 25-cv-239, 2025 WL 597959, at *18 n.13 (D.D.C. Feb. 25, 2025);
Whitman-Walker Clinic, Inc. v. HHS, 485 F. Supp. 3d 1, 60 (D.D.C. 2020); Mayor of Balt.
v. Azar, 392 F. Supp. 3d 602, 618–19 (D. Md. 2019). However, AFSCME does not, in the
instant motion for partial reconsideration, ask the Court to revisit its conclusion not to apply
its injunction to Washington, just as AFSCME does not ask this Court to revisit its decision
to deny nationwide relief, but it reserves the right to seek such relief at a later stage in this
litigation.


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Memorandum Opinion erred in denying relief covering Alaska and Jackson County, even

though the same reasons that warranted injunctive relief for Plaintiff Local Governments

applied to those two jurisdictions as well. Public officials in Alaska and Jackson County

would retain the right to decline (or not to seek) funds from the federal government if this

Court’s injunction running against the federal government were to be extended to include

these jurisdictions. But those officials’ right to do so should have had no bearing on whether

the irreparable harm experienced by AFSCME’s members in those localities warranted

injunctive relief.

        As this Court determined, the grants at issue “work on a reimbursement model, so

plaintiffs would draw from them as they incur expenses.” Mem. Op. at 40. That fact

persuaded the Court to hold that the equities weighed in favor of granting a preliminary

injunction for the Plaintiff Local Governments because any “potential burden on the public

fisc is not sufficiently great here to deny the local-government plaintiffs preliminary relief.”

Id. at 39. As the Court further stated, in addition to the amount in dispute representing “a

relatively small outlay for the federal government,” there was no certainty that the

government would spend all of the $32.7 million these Plaintiffs alleged they were owed,

because the local governments might not request reimbursement for that full amount. Id.

at 39–40. This Court also correctly extended relief with regard to the Plaintiff Local

Governments’ indirect grants, see id., which include indirect grants to Plaintiff City of

Columbus that pass through the State of Ohio, mitigating any administrative burden of

applying the preliminary injunction to Jackson County.

        The Court’s determination as to the Plaintiff Local Governments should have

applied with equal force to Alaska and Jackson County. As with the Plaintiff Local




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Governments, the officials in Alaska and Jackson County, should they decline any federal

funding from the grants at issue, also may elect not to request reimbursement from the

federal government. The Memorandum Opinion’s concern that a preliminary injunction

“could lead the federal government to pay money to entities that have not asked for it,” Id.

at 42, thus would have been assuaged had the Memorandum Opinion considered that the

grants for the two jurisdictions worked on the same reimbursement model that applied to

Plaintiff Local Governments. The Memorandum Opinion’s oversight in this regard

warrants reconsideration. See, e.g., Campaign Legal Ctr. v. FEC, 578 F. Supp. 3d 1, 580,

583 (D.D.C. 2021) (granting motion for reconsideration where court order relied on

mistaken factual determination); DAG Enters. v. Exxon Mobile Corp., No. 00-cv-0182,

2005 WL 475274, at *1–2, *4 (D.D.C. Feb. 25, 2005) (granting motion for reconsideration

where “the foundation of the Court’s” prior order was “now in doubt”). See also Elev8

Balt., Inc. v. AmeriCorps, No. 25-cv-1458, 2025 WL 1865971, at *3, *27–29 (D. Md. July

7, 2025) (granting preliminary injunction to nongovernmental subgrantees of states despite

the fact that states had not sued to recoup the funds in question which were granted directly

to agency by states).

       Moreover, just as the potential cost to the federal government was outweighed by

the irreparable harm suffered by the Plaintiff Local Governments, justifying injunctive

relief in their favor, any impairment to the federal government in granting additional relief

to only two other jurisdictions, Alaska and Jackson County, is outweighed by the

irreparable harm to the AFSCME public health workers in those jurisdictions. See Alpine

Sec. Corp. v. Fin. Indus. Regul. Auth., 121 F.4th 1314, 1330 (D.C. Cir. 2024), cert. denied

sub nom. Alpine Sec. Corp. v. Fin. Indus. Auth., No. 24-904, 2025 WL 1549780 (U.S. June




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2, 2025) (balance of equities tips in favor of granting injunctive relief where the magnitude

of the injury to moving party outweighs impairment to non-moving party). The Court’s

finding that AFSCME members suffered irreparable harm, coupled with the Court’s

determination that AFSCME members (along with the other Plaintiffs) were likely to

succeed on the merits on their separation of powers and ultra vires claims, Mem. Op. at 35,

should have carried the same weight in the Memorandum Opinion’s consideration of the

public interest. As the D.C. Circuit has held, “the public interest in such cases ‘rises and

falls with the strength of [the moving party’s] showing’ on the merits.” Hanson v. District

of Columbia, 120 F.4th 223, 247 (D.C. Cir. 2024), cert. denied, No. 24-936, 2025 WL

1603612 (U.S. June 6, 2025) (quoting Archdiocese of Wash. v. Wash. Metro. Area Transit

Auth., 897 F.3d 314, 335 (D.C. Cir. 2018)).

       B.       Absent Reconsideration, Manifest Injustice Will Result to AFSCME’s
                Members, Who the Court Determined Will Suffer Irreparable Harm

       Although the Memorandum Opinion did not discuss the harm to AFSCME’s

members in Alaska and Jackson County when balancing the equities with regard to those

two localities, it concluded earlier in its opinion that these employees would suffer

irreparable harm from which they had no other recourse. In determining whether

AFSCME’s members were entitled to injunctive relief, the Court ruled that AFSCME

would suffer irreparable harm resulting from the loss of employment and associated

benefits. Mem. Op. at 37. Unlike other individuals who might be able to seek retroactive

relief such as backpay from the loss of employment, AFSCME’s members who worked in

state and local public health departments did not have the same luxury. As the Court stated,

“AFSCME members who lose their jobs due to federal-funding cuts likely cannot sue the

federal government to recover backpay or any other remedies. That is because they are



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employed not by the federal government but by state and local governments, so any suit

against the federal government for backpay or other damages would likely be barred by

sovereign immunity.” Id. at 38. Moreover, as noted supra pp. 3–4, Plaintiffs’ Motion for

Preliminary Injunction, and its supporting declarations, set forth at length additional

examples of irreparable harm, including specifically to AFSCME members in Alaska and

Jackson County.

       AFSCME’s members, according to this Court’s own ruling, are likely to succeed

on the merits of their claims; have experienced significant, irreparable harm; and have no

other recourse outside of this Court. A fundamentally unfair outcome therefore will result

if the Court does not grant reconsideration.




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                                  CONCLUSION

       For these reasons, AFSCME respectfully requests that the Court reconsider the

denial of injunctive relief with respect to AFSCME members who are public employees in

Alaska and Jackson County.



Dated: July 15, 2025                      Respectfully submitted,

                                          __/s Joel McElvain_____________
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